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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:01CR219
                              )
          v.                  )
                              )
HOWARD L. MARION,             )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to enforce sentence imposed (Filing No. 172).              The defendant has

reviewed in his motion the medical problems which he has

experienced since he has been incarcerated, then makes reference

to the Court’s recommendation to the Bureau of Prisons contained

in the transcript of the sentencing hearing that if the

defendant’s “condition continues to deteriorate substantially,

the Court authorizes the Bureau of Prisons to terminate his

incarceration and allow him to return home where he will go on

supervised released.”

           The judgment and committal order of the Court (Filing

No. 119) substantially reflects this recommendation to the Bureau

of Prisons.   The Court has reviewed the defendant’s motion and

believes that the Bureau of Prisons is complying with the Court’s

judgment and committal order.       It lies in their discretion to

make this determination based upon the medical information they

have and their continued monitoring of defendant’s health
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problems.    For these reasons, the Court will deny the motion to

enforce sentence imposed.      Accordingly,

            IT IS ORDERED that defendant’s motion to enforce

sentence imposed is denied.

            DATED this 28th day of April, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
